 Case 5:21-cv-05158-TLB Document 23             Filed 11/08/21 Page 1 of 3 PageID #: 82




                     IN THE UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF ARKANSAS
                             FAYETTEVILLE DIVISION

REBECCA NELLE,                                                                PLAINTIFF
as mother and Next Friend of B.N., a minor

V.                             CASE NO. 5:21-CV-05158

HUNTSVILLE SCHOOL DISTRICT                                                 DEFENDANT

V.

MADISON COUNTY RECORD, INC.                                               INTERVENOR


                    ORDER GRANTING MOTION TO INTERVENE

      This is a case brought on behalf of a minor student against Huntsville School

District (“the School District”) pursuant to Title IX of the Education Amendments of 1972.

Currently before the Court is the Motion to Intervene (Doc. 15) by the Madison County

Record, Inc. (“the Record”) and Brief in Support (Doc. 16). The Record seeks to intervene

to oppose the School District’s pending Motion to Limit Pretrial Publicity (Doc. 10). The

School District has filed a Response in Opposition to the Motion to Intervene (Doc. 19).

      The Record seeks to intervene under Rule 24(b) of the Federal Rules of Civil

Procedure, which governs permissive intervention. Rule 24(b)(1)(B) provides that “the

court may permit anyone to intervene who . . . has a claim or defense that shares with the

main action a common question of law or fact.” “Normally, parties seeking permissive

intervention pursuant to Rule 24(b) must show: (1) an independent ground for jurisdiction,

(2) timeliness of the motion, and (3) that the applicant's claim or defense and the main

action have a question of law or fact in common.” Flynt v. Lombardi, 782 F.3d 963, 966

(8th Cir. 2015) (citing United States v. Union Elec. Co., 64 F.3d 1152, 1170 n.9 (8th Cir.



                                            1
 Case 5:21-cv-05158-TLB Document 23               Filed 11/08/21 Page 2 of 3 PageID #: 83




1995)). However, the Eighth Circuit held in Flynt that “when a party is seeking to intervene

only to modify a protective order or unseal documents, and not to litigate a claim on the

merits, an independent basis of jurisdiction is not required.” Id. at 967. This reasoning

applies equally to the case at bar, where the Record is seeking only to oppose a limitation

on the public’s access to these proceedings. Therefore, the Record is not required to

show an independent basis for jurisdiction.

       The Record “wishes to intervene for the limited purpose of protecting the public’s

right to the judicial proceedings, including the public statements of counsel and parties.”

(Doc. 16, p. 2). The Record “has covered and will continue to cover the allegations” that

underlie this case. Id. at p. 1. Because the Record is not seeking to become a party to

this litigation, its interest in protecting both its own and the public’s access to these

proceedings is sufficient to create a common question of law between its claims and the

original action. See Flynt, 782 F.3d at 967 (finding that “it is the public's interest in the

confidentially of the judicial records that—in the language of Rule 24(b)(2)—is a question

of law in common between the Parties to the original suit and the would-be intervener”)

(cleaned up).

       The School District argues that this case’s sensitive subject matter outweighs any

interest the Record has to access court proceedings. However, the Record is not seeking

to litigate the merits of this case or be granted access to any future discovery or sealed

filings. Therefore, allowing the Record to intervene for its limited purpose does not, on its

own, directly implicate the privacy interests at stake in this case. Moreover, those privacy

interests are the basis for the School District’s pending Motion to Seal Case (Doc. 13)

and are implicated by the pending Motion to Limit Pretrial Publicity (Doc. 10). It would be



                                              2
 Case 5:21-cv-05158-TLB Document 23                Filed 11/08/21 Page 3 of 3 PageID #: 84




inappropriate to deny the Record’s Motion to Intervene on grounds that presuppose the

veracity of the School District’s factual and legal contentions in its pending motions. At

this point, the Record has not had an opportunity to fully brief those issues and is merely

seeking that opportunity.

       Finally, Rule 24(b)(3) requires that the Court “consider whether the intervention will

unduly delay or prejudice the adjudication of the original parties' rights.” The Record filed

its Motion to Intervene less than a week after the School District filed its Motion to Limit

Pretrial Publicity, and as of the filing of this Order, that motion is not yet ripe for decision.

As such, the Record’s intervention will neither cause undue delay nor prejudice any

parties’ rights.

       Therefore, the Record’s Motion to Intervene (Doc. 15) is GRANTED. The Record

is ORDERED to file its response to the School District’s Motion to Limit Pretrial Publicity

(Doc. 10) by Friday, November 12, 2021.

       IT IS SO ORDERED on this 8th day of November, 2021.



                                                     TIMOTHY L. BROOKS
                                                     UNITED STATES DISTRICT JUDGE




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